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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

                                    )
KASSEM HEJEIJ,                      )
                                    )
            Plaintiff,              )
                                    )
      v.                            )
                                    ) Civil Action No. 1:19-01921 (TFH)
ANDREA M. GACKI, et al.,            )
                                    )
            Defendants.             )
                                    )
                                    )

PLAINTIFF’S REPLY MEMORANDUM IN SUPPORT OF CROSS MOTION FOR
                     SUMMARY JUDGMENT
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                                        INTRODUCTION

       On June 10, 2015, Kassem Hejeij, a prominent Lebanese banker and businessman, was

designated by the United States Department of the Treasury’s Office of Foreign Assets Control

(“OFAC”) for allegedly providing material support to Hezbollah. Following Hejeij’s initiation of

an administrative reconsideration matter and his request for the administrative record underlying

his designation, OFAC provided him with the administrative record, the substantive portions of

which—including all portions describing the reasons for OFAC’s action—were redacted. In

response, Hejeij instituted a lawsuit challenging OFAC’s failure to accord him notice of the

reasons for its action against him. Instead of defending this lawsuit, OFAC provided Hejeij with

unclassified summaries of the redacted administrative record but failed to clarify whether these

summaries provided the full basis for its decision to designate him pursuant to E.O. 13224.

Accordingly, while Hejeij returned to the delisting process to challenge his designation, he did so

under the same conditions as before—without proper notice as to the reasons for OFAC’s action

and unable to meaningfully challenge its allegations.

       On August 29, 2019, OFAC denied Hejeij’s delisting petition, having determined that the

evidence in its possession “establishes a reason to believe that the basis for Hejeij’s designation

continues to exist.” Admin. R. (“AR”) 0005. In support of this action, OFAC asserted that it “ha[d]

reason to believe that [Hejeij] continues to maintain relationships with [Hizballah, and that [Hejeij]

was not truthful with OFAC.” AR 0007. Most of OFAC’s findings in support of these conclusions

are redacted in the version disclosed to Hejeij. For those findings that are disclosed in at least

partial form, the administrative record evidences how OFAC reasoned backwards to produce a

decision that had already been predetermined irrespective of any information Hejeij may have

provided during his reconsideration matter.




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       Simultaneous with his delisting request, Hejeij submitted to OFAC a request to enter into

a terms of removal agreement that would govern the rescission of his designation and his removal

from OFAC’s List of Specially Designated Nationals and Blocked Persons (“SDN List”). This

request included proposed terms for that agreement and sought OFAC’s acceptance, rejection, or

counter-offer. To date, OFAC has provided no substantive response to that request. Defendants’

response is that OFAC collapsed that request into Hejeij’s then-ongoing delisting request and

OFAC’s decision with respect to that latter request constituted a decision as to Hejeij’s request to

enter into a terms of removal agreement. Its legal basis for doing so remains unclear, and the record

produced with respect to the denial of Hejeij’s delisting request evidences no reasoning by OFAC

as to the merits of the proposed terms of removal agreement and why OFAC did not respond to it.

It is clearly evident that OFAC did not substantively engage with Hejeij’s request—much less act

as it was required to do and begin an agency proceeding under which it fairly considered the

request. This failure merits a court order directing OFAC issue a decision on Hejeij’s request and

produce a record evidencing the agency’s reasoning for that decision.

       For these reasons, and those described in further detail below, this Court should grant

summary judgment in favor of Hejeij on all counts.

       I.       DEFENDANTS’ DENIAL OF HEJEIJ’S DELISTING PETITION CONSTITUTES
                ARBITRARY AND CAPRICIOUS AGENCY ACTION IN VIOLATION OF THE APA

       Defendants contend that “OFAC reasonably concluded that Hejeij should remain on the

SDN List based on the evidence before the agency,” and that “[t]his conclusion is entitled to

substantial deference.” Defs. Consolidated Opp. to Pl.’s Cross-Mot. for Summ. J. and Reply in

Supp. of Defs. Mot. to Dismiss or, in the Alternative, for Summ. J. (“Defs. Opp.”) at 2. Defendants

allege that “Hejeij misapprehends the governing standard of review under the APA,” and that “his




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arguments . . . fail to undermine the reasonableness of OFAC’s decision.” Id. at 3. Defendants are

wrong on all counts, as explained below.

       First, Defendants argue that, “[u]nder the APA, . . . the Court does not evaluate whether an

individual finding is ‘arbitrary,’” but instead “‘may reverse only if the agency’s decision is not

supported by substantial evidence, or the agency has made a clear error in judgment.’” Defs. Opp.

at 3 (quoting Safe Extensions, Inc. v. FAA, 509 F.3d 593, 604 (D.C. Cir. 2007)). Yet, the APA

itself requires that the courts “hold unlawful and set aside agency action, findings, and conclusions

found to be arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.”

5 U.S.C. § 706(2)(A). Further, courts have adhered to this statutory instruction by “set[ting] aside

agency findings unsupported by substantial evidence.” Throckmorton v. Nat’l Transp. Safety Bd.,

963 F.2d 441, 444 (D.C. Cir. 1992). Under this test, the court “determine[s] only ‘whether the

agency . . . could fairly and reasonably find the facts as it did.’” Id. (quoting Chritton v. NTSB, 888

F.2d 854, 856 (D.C. Cir. 1989)). As Hejeij has previously explained, OFAC’s findings in support

of its denial decision fail to meet the substantial evidence test and thus render OFAC’s ultimate

decision arbitrary and capricious in violation of the APA. See Pl.’s Cross-Mot. for Summ. J. and

Opp. to Defs. Mot. to Dismiss or, in the Alternative, Mot. for Summ. J. (“Pl.’s Cross-Mot.”) at 19-

20.

       In responding to Hejeij’s claim that “OFAC provides no explanation as to how a person

with

                                                                                                     ,”

Defendants argue that Hejeij “demands too much under the APA.” Defs. Opp. at 4. Instead, OFAC

claims that it “need only state the main reasons for its decision and indicate that it has considered

the most important objections.” Id. OFAC, however, is required to “articulate a satisfactory




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explanation for its action including a ‘rational connection between the facts found and the choice

made.’” Motor Vehicle Mfrs. Assn. of U.S., Inc. v. State Farm Mut. Auto Ins. Co., 463 U.S. 29, 43

(1983). Here,



                                                                                           .




        That argument fails, however, as it evidences OFAC’s “fail[ure] to consider an important

aspect of the problem” or “consider[] the most important objections” to its finding. Motor Vehicle

Mfrs. Assn., 463 U.S. at 43; Simpson v. Young, 854 F.2d 1429, 1435 (D.C. Cir. 1988).




       Defendants contest Hejeij’s argument that OFAC failed to explain how mere access to

Hizballah “could be considered to equate to the provision of support or services,” stating only that

“the APA requires no such explanation.” Defs. Opp. at 6. Again, this defies the relevant standard

of review under which this Court is to judge the lawfulness of OFAC’s action—a standard that

expressly requires OFAC to “articulate a satisfactory explanation for its action” and “to consider

[] important aspect[s] of the problem.” Motor Vehicle Mfrs. Assn., 463 U.S. at 43.




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       Defendants next dispute Hejeij’s characterization of OFAC’s decision, arguing that OFAC

“did not deny Hejeij’s petition simply because he failed to remember a single meeting with a

Hizballah official.” Defs. Opp. at 8. OFAC, however, denied Hejeij’s delisting petition on the

grounds he “submitted false or misleading information to OFAC in connection with his delisting

petition.” Id. In particular, OFAC cited Hejeij’s “self-serving and unpersuasive” failure to recollect

an alleged meeting with Hizballah finance official in 2013. AR 0014. As Hejeij noted, however,

he argued during his delisting matter that no such meeting had taken place and that—if OFAC had

evidence otherwise—the agency should provide it to permit Hejeij to submit rebuttal evidence.

AR 0264. Defendants’ citation to Hejeij’s submission—wherein Hejeij stated that he “does not

recall any interactions with any person holding themselves out to be an official representative of

Hizballah”—does not change the fact of Hejeij’s denial. This is because Hejeij was merely seeking

from OFAC information regarding who they considered to be “a Hizballah finance official” that

Hejeij met with for Hejeij had not met with any person who held themselves out as acting for or

on behalf of Hizballah. OFAC’s failure to apprehend the plain meaning of Hejeij’s representations

to the agency renders its conclusion that Hejeij lacks credibility arbitrary and capricious, as the

factual predicate for this conclusion—i.e., that Hejeij “disingenuously” failed to recollect the

meeting—was erroneous.

       Defendants, staving off Hejeij’s attack on its finding with respect to Global Cleaners,

argues that “the totality of OFAC’s evidence is unknown to Hejeij” and that OFAC’s assessments

as to the documents provided by Hejeij are “reasonabl[e].” Defs. Opp. at 11. But, as Hejeij noted,

OFAC invented out of whole cloth the suggestion that Hejeij used a proxy on Global Cleaners’

corporate documents, having neither evidence in support of this claim nor purporting to have such

evidence. This was, as Hejeij implied, a necessary invention as Hejeij’s provision of corporate




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documents relating to Global Cleaners’ past and current ownership would have otherwise required

OFAC to reassess the evidence that it had brought to bear when initially designating Hejeij. Thus,

OFAC arbitrarily determined that Hejeij used proxies to hold shares in Global Cleaners on his

behalf despite having neither evidence of his doing so nor purporting to have evidence showing he

did so.

          Defendants also concede—for the first time in this matter—that they had other documents

referenced by Hejeij in their possession but that they failed to assess those documents in connection

with Hejeij’s reconsideration matter. See Defs. Opp. at 13 n.4; Decl. of Ripley Quinby, ¶¶ 6-9.

OFAC’s failure to consider the documents—and its faulting Hejeij for failing to bring them to

OFAC’s attention (despite the fact that Hejeij had previously made clear that he could not access

those documents)—casts OFAC’s failure to assess the documents in an altogether different light.

          Finally, Defendants argue that—even if its findings or conclusions are arbitrary and

capricious in violation of the APA—the error is “harmless,” as other findings made by the agency

“are sufficient to sustain OFAC’s decision.” Defs. Opp. a 14. But in cases “[where] there is

substantial doubt that the agency would have adopted the same disposition” absent inclusion of

those findings deemed unlawful, North Carolina v. FERC, 730 F.2d 790, 795-96 (D.C. Cir. 1984),

“the proper course . . . is to remand to the agency for additional investigation or explanation.” Fla.

Power & Light Co. v. Lorion, 470 U.S. 729, 744 (1985).

          In this case, there exists “substantial doubt” that OFAC would have reached the same

conclusion regarding Hejeij’s activities in the absence of the agency’s findings that: (1) “[Hejeij’s]

support and services [to Hizballah] had not ceased,” (2) Hejeij “downplayed his . . . involvement

with Global Cleaners,” (3) “as of 2018,” Hejeij continued to act “on behalf of Hizballah,” and (4)

Hejeij’s denials regarding his support to Hizballah “undermines his overall credibility.” AR 0002-




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0003. These specific findings provide critical support to OFAC’s dual conclusion that “[t]he basis

for Hejeij’s designation continues to exist subsequent to his June 2015 designation by OFAC, and

Hejeij was not truthful with OFAC.” AR 0015. If this Court were to find OFAC’s findings that

Hejeij continued to act on behalf of Hizballah and that he lacked credibility to be arbitrary and

capricious, then this would undermine an entire conclusion on which OFAC rests its determination

that Hejeij continues to meet E.O. 13224’s designation criteria—i.e., that Hejeij “was not truthful

with OFAC.” AR 0015. Under these conditions, affirming OFAC’s denial decision on the grounds

of harmless error risks “usurp[ing] an administrative function,” which is the agency’s weighing of

the evidence before it to determine whether Hejeij continues to meet the criteria for designation

under E.O. 13224. Epsilon Elecs., Inc. v. U.S. Dep’t of the Treasury, 857 F.3d 913, 929 n.12 (D.C.

Cir. 2017) (quoting Fed. Power Comm’n v. Idaho Power Co., 344 U.S. 17, 19 (1952)).

       For these reasons, Hejeij respectfully requests that this Court grant Count I in his favor and

find that OFAC’s denial decision, as well as the discrete findings and conclusions thereof,

constitute arbitrary and capricious agency action under the APA and must be set aside.

       II.     DEFENDANTS HAVE FAILED TO ACT           ON   HEJEIJ’S REQUEST     TO   ENTER   INTO A
               TERMS OF REMOVAL AGREEMENT

       Defendants argue that Hejeij’s claim that OFAC acted with unreasonable delay under 5

U.S.C. § 706(1) with respect to his request to enter into a terms of removal agreement is meritless,

as, in Defendants’ view, (1) OFAC has not delayed a decision on Hejeij’s request; and (2) Hejeij,

in any event, “has failed to identify a discrete, legally required action that OFAC has unreasonably

delayed.” Defs. Opp. at 15. On both counts, Defendants are wrong.

       Defendants first contend that OFAC’s decision with respect to Hejeij’s delisting petition

was also “a decision on Hejeij’s request [to enter into a terms of removal agreement],” as “OFAC’s

denial decision expressly acknowledged Hejeij’s [latter request].” Defs. Opp. at 15, 16. For this


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reason, according to Defendants, “the Court can [] offer no meaningful relief,” as a decision on

the request has been rendered. Defs. Opp. at 16. But Defendants are in error.1 The decision made

was clearly a decision solely with respect to Hejeij’s delisting request, and OFAC’s mere notice

in the record that Hejeij likewise requested entrance into a terms of removal agreement evidenced

only OFAC’s failure to accord this latter request the consideration that it deserved under the APA.

Nowhere in the administrative record does OFAC deal substantively with Hejeij’s request. This

failure contradicts OFAC’s obligations under 5 U.S.C. § 555(b) and (e) to “conclude a matter

presented to it,” including a request for a determination, and provide parties “[p]rompt notice” in

case of “the denial in whole or in part of a written application, petition, or other request of an

interested person…”

       Defendants next argue that Hejeij “complain[s] about the substance of OFAC’s decision,

not OFAC’s failure to reach a decision.” Defs. Opp. at 16. Curiously, however, Defendants

proceed to show why Hejeij’s argument is procedural in nature, quoting Hejeij’s contention that

OFAC “‘failed to demonstrate that a proceeding was established to consider the request’ and

‘failed to produce an administrative record for this Court regarding its consideration of that

request.’” Defs. Opp. at 16. These errors are substantial for reasons Hejeij already explained. By

failing to treat Hejeij’s request to enter into a terms of removal agreement on its own terms, OFAC

not only failed to independently consider the arguments that Hejeij brought to bear on the proposed




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  Defendants also appear to contradict their position in separate litigation wherein they argue that
the “administrative process” triggered by a request for reconsideration under 31 C.F.R. § 501.807
“is distinct from those SDGTs who seek a terms of removal agreement with OFAC.” Defs.
Statement of Points and Authorities in Support of Defs. Renewed Mot. for Summ. J. at 7, Bazzi v.
Gacki, et al., No. 19-cv-00484 (RM) (D.D.C. Jan. 31, 2020) (ECF No. 24). According to OFAC
in the litigation, “requests for such agreements amount to a demand for settlement with the agency
in which a SDGT asks that OFAC condition a rescission of designation on stipulations negotiated
between the agency and the SDGT.” Id.

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agreement but also failed to outline the specific reasoning for its purported decision to deny that

request. This failure effectively prevents Hejeij from challenging OFAC’s purported denial of its

request or from pursuing a new request before the agency, while also limiting this Court’s

consideration of any legal challenge posed to OFAC’s alleged decision.

       Defendants indicate that—to the extent that the Court believes OFAC erred in failing to

respond to Hejeij’s request to enter into a terms of removal agreement—such error was harmless.

Defs. Opp. at 16. But Hejeij’s claim is that OFAC has unreasonably delayed a decision on the

request and that this delay harms Hejeij’s interests insofar as OFAC’s consideration of said request

could lead to agreement between the parties under which Hejeij’s designation would be rescinded.

Hejeij thus requested that this Court order OFAC to issue a reasoned decision on his request to

enter into a terms of removal agreement. Am. Compl., Requested Relief. Such an order would not

invalidate OFAC’s decision with respect to Hejeij’s delisting request, as the two requests are

separate and distinct but would require OFAC to issue decisions with respect to each of them.

Moreover, absent such an order, the harm to Hejeij will compound over time, as he will remain

identified on the SDN List so long as OFAC continues to delay, if not outright ignore, Hejeij’s

request and will be unable to challenge any unfavorable decision rendered by the agency.

       Defendants argue that Hejeij “failed to establish that his § 706(1) claim pertains to a

discrete, legally required agency action,” because Hejeij “seeks only to begin a process of

negotiating a potential settlement[] and OFAC is not required to engage in such a process.” Defs.

Opp. at 17. But, Defendants’ argument “is entirely reliant on its erroneous characterization of

Hejeij’s request” and collapses upon fair inspection of the request at issue. Pl.’s Cross-Mot. at 29.

       For purposes of the APA, Hejeij presented a new “matter” to OFAC when it submitted a

document titled “Request to Enter into a Terms of Removal Agreement,” which “would govern




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the rescission of [Hejeij’s] designation and the removal of his name from OFAC’s [SDN List].”

AR 0169. This document included terms for that agreement, including, for instance, Hejeij’s offer

to “sever[e], and refrain[] from ever again entering into, any dealings of any nature whatsoever

with Adham Tabaja . . ., or any entities under [his] ownership or control” and to “not return to, or

be employed in, any operational, executive, or managerial position in any financial institution for

a five (5) year period.” AR 0170-0171. Far from a mere proposal to begin negotiations with OFAC,

Hejeij’s request outlined the parameters for a terms of removal agreement, which OFAC—

consistent with its obligations under the APA—was to either accept, reject, or counter-offer.

       Hejeij’s request sought OFAC’s response one way or the other. Under the APA, as Hejeij

has outlined, OFAC is obligated “to proceed to conclude a matter presented to it . . . within a

reasonable time,” and—in the case of a denial of such request—to provide “[p]rompt notice . . . of

the denial,” along with a statement of the grounds for its decision. 5 U.S.C. §§ 555(b), (e). Hejeij’s

request to enter into a terms of removal agreement—including his proposed terms under which

such agreement could be made—was a “matter” for which OFAC was required to issue a decision

“within a reasonable time.” That decision would have constituted “agency action” for purposes of

the APA. See 5 U.S.C. § 551(13).

       Defendants selectively quote from Hejeij’s request to argue that Hejeij “is asking this Court

to compel not a discrete action but a nebulous ‘process.’” Defs. Opp. at 18. But even if Hejeij’s

request both sought entry into a terms of removal agreement on the basis of the proposed conditions

identified therein and provided notice that Hejeij was willing to negotiate those conditions should

OFAC find the proposed terms insufficient, that would not change the nature of the request nor

absolve OFAC of the requirement to issue a decision with respect to it. Defendants cannot escape

their obligations under the APA simply because the request at issue stated Hejeij’s willingness to




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negotiate with OFAC. Finding otherwise would have the unintended consequence of hardening

the positions of sanctioned parties when proposing such agreements, as the parties will be reluctant

to signal their willingness to negotiate in future if OFAC can use that willingness to evade their

obligation to decide on a terms of removal request.

       Finally, Defendants analyze their ongoing delay in light of the factors set forth in

Telecommunications Research & Action Center v. FCC, 750 F.2d 70 (D.C. Cir. 1984) (“TRAC”),

arguing that—measured against the TRAC factors—“there is no basis to find that any decision by

OFAC has been unreasonably delayed.” Defs. Opp. at 20. But, before refuting how Defendants

measure their performance against these factors, Hejeij notes the anomaly of Defendants arguing

that its delay is reasonable at the same time that they refuse to accept that they have any legal

obligation to consider Hejeij’s request and issue a decision at all. If, for instance, this Court were

to find OFAC is obligated to issue a decision with respect to Hejeij’s terms of removal agreement

request, then OFAC’s delay in issuing such decision is inherently “unreasonable.” This is because

OFAC has not even begun a proceeding under which it reviews the request; reasons why or why

it should not accept the request; or issue a decision.

       In any event, OFAC’s failure also bears on consideration of the relevant TRAC factors.

First, Defendants claim that a delay of 16 months is not unreasonable because “Congress has

provided no indication of the speed with which it expects OFAC to resolve such requests” and

“there is no other basis to discern a ‘rule of reason’ that the Court can apply.” Defs. Opp. at 18.

Taken to its logical conclusion, Defendants appear to imply that the Court is without power to

order OFAC to act on any request, even if the Court is aware that OFAC is not acting on or

otherwise processing the request by giving it due consideration. Defendants err on two grounds.

Contrary to Defendants’ argument, Congress has expressly held that OFAC must act on Hejeij’s




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request “within a reasonable time,” 5 U.S.C. § 555(b), thereby setting clear “indication of the speed

with which it expects OFAC to resolve such requests.” Defs. Opp. at 18. If, after 16 months, OFAC

fails to consider the request or assemble a record in support of a decision on the request, OFAC

would not be acting on the request “within a reasonable time.” Moreover, Defendants fail to find

any case law in support of the proposition that this Court is unable to compel OFAC to act on the

request. Defendants cite Holy Land Found. v. Ashcroft to argue that the Court “must defer to the

Executive’s discretion on the timing of [] foreign policy and national security decisions.” Holy

Land Found., 219 F. Supp. 2d 57, 74 n.28 (D.D.C. 2002). In doing so, however, Defendants omit

the fact that the Court in that decision was referring to OFAC’s timing on its decision to impose

sanctions in the first instance, not its timing with respect to a petition for delisting or a request to

enter into a terms of removal agreement. Id.

        Second, Defendants claim that OFAC’s consideration of Hejeij’s request to enter into a

terms of removal agreement is not a matter of “human health and welfare,” arguing that finding

otherwise would “eviscerate[] the distinction that the D.C. Circuit has drawn between economic

and non-economic regulation.” Defs. Opp. at 19. It is important to consider the scope of the

sanctions imposed on Hejeij when considering whether these sanctions—and OFAC’s failure to

timely issue decisions on petitions for their removal—directly affect Hejeij’s “human health and

welfare.” It is not just that Hejeij’s property and interests in property are blocked and that U.S.

persons are prohibited from engaging in dealings with him, which—in and of themselves—entail

significant consequence. Instead, it is that all persons—U.S. and foreign—who support for, or

services to or in support of, Hejeij are exposed to U.S. sanctions and risk designation themselves

for providing support or services to him. This international boycott targeting Hejeij therefore not

only denies him access to support and services, including those necessary to his health and welfare;




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its very reason for being imposed is to impose consequences on anyone who may seek to do so.

For Defendants to claim, then, that OFAC’s failure to issue a decision with respect to Hejeij’s

request to enter into a terms of removal agreement does not impact “human health and welfare”

ignores the clear import of its own sanctions on Hejeij—the consequences of which Defendants

do not just well-understand but encourage. See, e.g., Press Release, U.S. Government Sanctions

Organizations and Individuals in Connection with an Iranian Defense Entity Linked to Iran’s

Previous Nuclear Weapons Efforts, U.S. Dep’t of Treasury, Office of Foreign Assets Control

(March 22, 2019) (stating that persons subject to U.S. sanctions face “professional, personal, and

financial isolation” as a result).

        Third, Defendants argue that “there is no basis for the Court to ‘reorder[] [OFAC’s]

priorities,’” Defs. Opp. at 19 (quoting In re Barr Labs, Inc., 903 F.2d 72, 76 (D.C. Cir. 1991)).

Because, according to Defendants, “granting Hejeij’s request would simply move him to the front

of the line of SDGTs seeking similar relief, the delay is not of the type that the D.C. Circuit has

recognized as pertinent to the TRAC analysis.” Defs. Opp. at 20. Yet, Defendants contest that an

agency proceeding is even required with respect to Hejeij’s request to enter into a terms of removal

agreement. Thus, a favorable decision for Hejeij would not reorder OFAC’s priorities so much as

it would ensure that OFAC adheres to its obligations under the APA to consider and issue a

decision with respect to Hejeij’s request in the first instance. In other words, what is significant is

not that the Court would be “putting [Hejeij] at the head of the queue,” but rather the Court would

be placing Hejeij in the queue to begin with. Id. This is what distinguishes Hejeij’s cases from

those cited by Defendants. In these latter matters, parties sought expedited consideration of their

varying applications before the relevant agencies, hoping to leapfrog others. In this case, Hejeij

has waited 16 months for a decision with respect to his request to enter into a terms of removal




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agreement, only to learn through this litigation that OFAC has no intention of treating that request

as it is required to do.



        III.    DEFENDANTS FAILED TO PROVIDE HEJEIJ NOTICE OF THE REASONS EITHER FOR
                HIS DESIGNATION OR FOR OFAC’S DENIAL OF HIS DELISTING PETITION
                CONSISTENT WITH ITS OBLIGATIONS UNDER THE DUE PROCESS CLAUSE

                A.         Hejeij Has Constitutional Due Process Rights With Respect to OFAC’s
                           Blocking of His Property

        Defendants allege that Hejeij “fails to allege the sort of ‘substantial connections’ with the

United States necessary for Hejeij . . . to be entitled to the full protections of the U.S. Constitution.”

Defs. Opp. at 21. According to Defendants, Hejeij’s complaint “is devoid of any factual allegations

that could plausibly support a finding that Hejeij has property within the United States,” which—

in their view—is a necessary predicate to Hejeij’s assertion of constitutional protections. Id. at 22.

For these reasons, Defendants ask the Court to “dismiss [Hejeij’s] Fifth Amendment claims for

lack of subject-matter jurisdiction pursuant to Rule 12(b)(1).” Id.

        Hejeij’s Amended Complaint, however, fairly alleged that—as a direct result of OFAC’s

designation action—“all property in which Hejeij has an interest that is subject to U.S. jurisdiction

is blocked . . .” Am. Compl. ¶ 12. Similarly, the Amended Complaint further alleged that Hejeij’s

“property and interests in property within U.S. jurisdiction [were] blocked . . . [a]s a result of [his]

designation.” Id. at ¶ 15. Defendants contend that “[w]hile this allegation accurately captures the

legal consequences of OFAC’s decision, it does not adequately establish that Hejeij in fact has

property subject to blocking.” Defs. Opp. at 22. But all that is required at this stage of the

proceedings is that Hejeij set forth factual allegations that “raise a right to relief above the

speculative level.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007) (stating that “a well-




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pleaded complaint may proceed even if it strikes a savvy judge that actual proof of those facts is

improbable, and ‘that recovery is very remote and unlikely.’”). Hejeij has met this burden by

alleging that his designation resulted in the blocking of his property within U.S. jurisdiction.

       Any blocked property would provide a clear basis under which to find that Hejeij is entitled

to constitutional due process protections, at least with respect to that property. This Court has

considered “the presence of property” as the “benchmark for satisfying the ‘substantial

connections’ test, and whether a party has the ability to raise constitutional claims . . .” Kadi v.

Geithner, 42 F. Supp. 3d 1, 26 (D.D.C. 2012). By accepting Hejeij’s factual allegations as true for

purposes of the pending motions, Hejeij has satisfied this standard and can fairly assert a right to

constitutional due process with respect to OFAC’s blocking action.

       Defendants claim that the relevant precedent “establishes only that aliens have received

constitutional protections when they have come within the territory of the United States and

developed substantial connections with this country.” Defs. Opp. at 22 (quoting United States v.

Verdugo-Urquidez, 494 U.S. 259, 271 (1990)). But, as the D.C. Circuit observed in Nat’l Council

of Resistance of Iran v. U.S. Dep’t of State, nothing in Verdugo-Urquidez “purports to establish

whether aliens who have entered the territory of the United States and developed connections with

this country but not substantial ones are entitled to constitutional protections.” Nat’l Council of

Resistance, 251 F.3d 192, 202 (D.C. Cir. 2001). In other words, while Verdugo-Urquidez clarifies

those situations where foreign nationals merit constitutional protection, the case does not establish

the bounds by which persons are disentitled to those protections. And, as evidenced by Kadi, the

mere presence of property in the United States may well provide constitutional protection with

respect to that property. Kadi, 42 F. Supp. 3d at 26.




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        Moreover, in the context of an OFAC designation, no court has before tested whether a

foreign national whose property is subject to blocking merits constitutional protection with respect

to that blocked property. See, e.g., Fares v. Smith, 249 F. Supp. 3d 115, 122 (D.D.C. 2017) (“[T]he

Court . . . does not reach the antecedent question of whether Plaintiffs are entitled to the protections

of the Due Process Clause.”); Kadi v. Geithner, 42 F. Supp. 3d 1, 28 (D.D.C. 2012) (holding that

“the issue of standing need not be conclusively resolved . . . if the jurisdictional facts ‘are

inextricably intertwined with the merits of the case.’”). Contrary to Defendants’ representations,

the question as to whether a foreign national may have constitutional due process protections with

respect to the blocking of his property does not have an obvious answer.

                B.      Due Process Requires OFAC Set Out the Full Scope of Reasons for Its
                        Decision to Designate Hejeij or Deny Hejeij’s Delisting Petition

        Defendants contend that the International Emergency Economic Powers Act (“IEEPA”)—

the statutory authority underlying E.O. 13224—“expressly permits the Executive Branch to rely

on classified information” when designating parties pursuant to authorities issued thereunder.

Defs. Opp. at 27. Further, Defendants assert that IEEPA “does not require that the government to

summarize or allow third parties to access classified information in connection with an

administrative or judicial proceeding.” Id. In addition, according to Defendants, “the D.C. Circuit

has never concluded that OFAC must provide a SDGT ‘all of the reasons supporting [a]

determination’” that a person meets the criteria for designation. Id. Instead, Defendants argue, the

D.C. Circuit “has repeatedly held that there is no due process violation when a federal agency

makes a decision based on classified information not disclosed to a foreign national.” Id.

Defendants arguments are unavailing.

        Defendants are correct that IEEPA “does not require [OFAC] to summarize or allow third

parties to access classified information in connection with an administrative or judicial



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proceeding.” Defs. Opp. at 27. However, Hejeij does not, and has not, argued otherwise. Instead,

Hejeij argues that the Due Process Clause requires OFAC to provide the reasons for its decision

to designate him, including the findings and conclusions underlying the agency’s action. This view

is supported by the relevant case law in the D.C. Circuit, including, most recently, the Court of

Appeals’ decision in Fares v. Smith, 901 F.3d 315 (D.C. Cir. 2018). In that case, as Hejeij

previously detailed, the Court stated that, “in [the] narrow category of cases” where courts have

“countenanced” disclosure of only the unclassified administrative record, courts have required the

government to “ensure a designee’s notice and process via alternative means.” Fares, 901 F.3d at

319, 324. These alternative means include “strictly necessary adaptations of ordinary

administrative and judicial process,” and may include the provision of “sufficiently specific

‘unclassified summaries . . . [that] provide [plaintiffs] with the ‘who,’ ‘what,’ ‘when’ and ‘where’

of the allegations.’” Id. at 324 (quoting Kiareldeen v. Ashcroft, 273 F.3d 542, 548 (3d Cir. 2001)).

Defendants’ claim, therefore, that OFAC is not required to provide the reasons for its decision to

designate Hejeij is in error, as Fares makes clear.

       Defendants contend that Hejeij’s “reliance on Fares v. Smith . . . is misplaced,” arguing

that Fares “affirmed the ability of the Executive Branch to rely on classified and law enforcement

privileged information that is not disclosed to a designated individual.” Defs. Opp. at 29.

Defendants, however, conflate two distinct issues. As noted above, while OFAC may rely on

classified and law enforcement privileged information when designating an individual, Fares

nevertheless held that OFAC is required to ensure the designated person has adequate notice of

the reasons for their designation through alternative means. This includes, contra Defendants’

position, all of the reasons for a designation, as “disclosure of some but not all of the allegations




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against [a designee] impairs their ability to fully clear their names for delisting . . .”2 Fares, 901

F.3d at 322 (citing Al Haramain Islamic Found. v. U.S. Dep’t of Treasury, 686 F.3d 965, 986 (9th

Cir. 2012) (finding OFAC’s notice to be inconsistent with due process where OFAC disclosed

“only one of three reasons for its investigation and designation.”)). Accordingly, while OFAC may

not be required to disclose the classified and privileged portions of the record, OFAC’s failure to

disclose the reasons for designating him—whether through declassification, unclassified

summaries, or counsel’s access to the record—implicates due process, as evident by Fares.

         For these same reasons, Defendants’ claim that the provision of unclassified summaries are

not required by the Due Process Clause is beside the point. See Defs. Opp. at 30. While Fares did

not mandate provision of unclassified summaries, Defendants ignore the fact that Fares found

that—in those circumstances where OFAC could not disclose all the reasons for a designation via

declassification of the administrative record—OFAC must “ensure a designee’s notice and process

via alternative means.” Fares, 901 F.3d at 319, 324. This could include by “strictly necessary

adaptations of ordinary administrative and judicial process,” which may include provision of

unclassified summaries. Id. Accordingly, while Fares did not dictate the means by which OFAC

must provide notice, it nevertheless mandated OFAC take adequate steps to ensure constitutionally

adequate notice. Defendants have no response to the clear import of the Fares decision for reasons

that are obvious: the notice provided to Hejeij does not accord with OFAC’s due process

obligations.



2
  Defendants argue that the Court of Appeals—in rendering this line—merely observed “what a designated individual
may argue” but did not “establish a bright-line rule that OFAC must disclose each and every reason for its designation
decisions.” Defs. Opp. at 30. Yet, Defendants ignore that the Court issued this line in admonishment of the Fares
plaintiffs for failing to request relief that the Court was within its power to grant. Indeed, the Court of Appeals cited
case law—including within the D.C. Circuit—in support of the proposition that OFAC’s failure to disclose “all of the
allegations against [a designee]” constituted a due process violation. Fares, 901 F.3d 322 (citing Zevallos v. Obama,
793 F.3d 106, 118 (D.C. Cir. 2015).


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               C.      Defendants Failed to Provide Notice of the Reasons for Hejeij’s
                       Designation

       Defendants contend that OFAC’s unclassified administrative record and its provision of

unclassified summaries “more than adequately apprise [Hejeij] of the basis for OFAC’s decision

to designate him as a SDGT.” Defs. Opp. at 32. Fair inspection of the relevant documents,

however, provides clear indication that the notice provided Hejeij of the reasons for his designation

are inconsistent with OFAC’s obligations under the Due Process Clause.

       Defendants argue that—while the evidentiary memorandum may be heavily redacted—it

is “redacted only insofar as it contains classified information, which . . . OFAC need not disclose.”

Id. Moreover, according to Defendants, OFAC’s press release and its provision of unclassified

summaries adequately “explain OFAC’s determination that Hejeij” meets the designation criteria

under E.O. 13224. Id. The unclassified summaries, according to Defendants, “demonstrate that

OFAC provided Hejeij with the ‘“who,” “what,” “when,” and “where” of the allegations,’” fully

consistent with its notice obligations under the Due Process Clause.

       As Hejeij has already noted, OFAC “redacted the entire section of the record describing

the basis for the agency’s determination that [he] met the criteria for designation under E.O.

13224.” Pl.’s Cross-Mot. at 33-34. This includes “[a]ll relevant agency findings and conclusions

in support of OFAC’s determination that Hejeij ‘provides financial, material, or technological

support for, or financial or other services to or in support of, Hizballah, a person designated

pursuant to E.O. 13224.’” Id. In addition, despite its provision of unclassified summaries, OFAC

failed to clarify “whether the allegations contained in [those] summaries represent findings or

conclusions in support of the agency’s determination,” as well as “how the agency reasoned from

the evidence in its possession to reach [its] findings or conclusions.” Id. OFAC has likewise

remained silent as to whether the unclassified summaries constitute the full sum of reasons for


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OFAC’s determination that Hejeij meets the criteria for designation under E.O. 13224. This means

that even if Hejeij were to rebut each of OFAC’s allegations contained in the unclassified

summaries, he would be without confidence that those rebuttals will prove sufficient to negate the

basis for his designation. Id.

        These failures implicate Hejeij’s due process rights, as designated parties must have a

meaningful opportunity to present rebuttal evidence or otherwise counter those allegations offered

in support of a determination that the person meets the criteria for designation. See, e.g., Nat’l

Council of Resistance, 251 F.3d at 209. This necessarily requires disclosure of all the reasons for

a designation, as “disclosure of some but not all of the allegations against [a designee] impairs

their ability to fully clear their names for delisting.” Fares, 901 F.3d at 322. Even where OFAC

attempts to remedy its failure to disclose the substantive portions of the administrative record

through provision of unclassified summaries, the agency must ensure that those summaries are

sufficiently detailed to provide designated parties “with the ‘who,’ ‘what,’ ‘when,’ and ‘where’ of

the allegations.” Id. at 324.

        Defendants make no attempt to show how the allegations in the unclassified summaries

suffice for purposes of the Due Process Clause. Instead, Defendants merely argue that “Hejeij’s

suggestion that he is unable to grasp the basis for his designation strains credulity.” Defs. Opp. at

34. For instance, Defendants cite OFAC’s allegation that “Hejeij has maintained ties with senior

elements in [Hizballah], [Hizballah] elements in Iraq, among others,” and “has provided support

to [Hizballah] for a number of years,” including by “investing in civilian infrastructure that

[Hizballah] uses in Lebanon and Iraq.” Id.; AR 0232. Defendants’ recourse to this allegation as

evidence of the sufficiency of OFAC’s disclosures, however, underscores only how OFAC fails to

apprehend the scope of its notice obligations under the Due Process Clause, as these allegations




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are so general that they effectively deny Hejeij a meaningful opportunity to provide rebuttal

evidence. How, for instance, is Hejeij supposed to provide contrary evidence to the agency to rebut

its allegations if Hejeij lacks any knowledge as to the “senior elements” in Hizballah or the

“[Hizballah] elements” in Iraq to whom he is alleged to have maintained ties. Similarly, so long

as Hejeij is unaware of what “civilian infrastructure” in Lebanon OFAC believes is used by

Hizballah, Hejeij cannot rebut the allegation by providing information showing that Hizballah does

not make use of such infrastructure or by that Hejeij did not invest in such infrastructure. The lack

of specific identifying information, as required by Fares, undermines Hejeij’s position to make

meaningful use of OFAC’s delisting procedures and challenge the basis for his continued

designation.

               D.      Defendants Failed to Provide Notice of the Reasons for Its Denial of
                       Hejeij’s Delisting Petition

       Defendants argue that the unredacted portions of the evidentiary memorandum outlining

the reasons for OFAC’s denial decision “are at least as informative as the notice deemed sufficient

by the D.C. Circuit in Jifry.” Defs. Opp. at 36. Further, according to Defendants, OFAC’s letter

noticing Hejeij of its decision “sets forth six unclassified grounds for OFAC’s decision, including

information that summarizes evidence redacted in the agency’s memorandum.” Id. at 37. Neither

of these documents, however, provide notice sufficient to satisfy OFAC’s due process obligations.




                                        But that is, at best, a conclusion generated on the basis of

findings that remain undisclosed to Hejeij and one that Hejeij has no opportunity to rebut in a

meaningful way. Indeed, it is useful to consider what information Hejeij would need to


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meaningfully rebut this conclusion. That information would necessarily include, for instance, what

statements made by Hejeij OFAC regards as “false,” as Hejeij would need to know these

statements in order to substantiate them. Moreover, Hejeij would need to know OFAC’s basis for

finding these statements false, so that Hejeij could provide information and documents that counter

that basis. Finally, Hejeij would need clarification as to OFAC’s basis for assessing that he

maintains an ongoing relationship with Hizballah.




                                                      Anything less than these disclosures effectively

prevent Hejeij from meaningfully rebutting OFAC’s conclusion and the findings from which it

was generated.

       The same is true for OFAC’s other conclusions disclosed in the evidentiary memorandum,

such as its conclusion that “Hejeij provided false or misleading information to the agency.” Id. at

38. Here, again, Hejeij would necessarily require notice as to the basis for OFAC’s determination

that the information provided to it was “false” or “misleading,” as, absent such notice, Hejeij is in

no position to provide rebuttal evidence. This is a problem of significant import because OFAC’s

conclusion may persist in error so long as Hejeij is unable to rebut evidence that has been rendered

obscure to him. For all those reasons discussed above, OFAC’s failure to accord Hejeij with notice

of the agency’s conclusions and findings in support of its denial of Hejeij’s delisting petition

constitutes a constitutional due process violation.

       IV.       DEFENDANTS FAILED TO PROVIDE HEJEIJ WITH ADEQUATE NOTICE OF THE
                 REASONS FOR HIS DESIGNATION OR OFAC’S DENIAL DECISION CONSISTENT
                 WITH THE REQUIREMENTS OF THE APA




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       Defendants attack Hejeij’s notice-based claim under the APA, arguing that Hejeij “is not

entitled to access classified and law enforcement privileged materials simply because he has

alleged a cause of action under 5 U.S.C. § 706.” Defs. Opp. at 39. Hejeij, however, has not claimed

that he is entitled to access classified and law enforcement privileged materials. Instead, Hejeij

argues that the APA requires OFAC “to set forth its reasons for a decision,” Pl.’s Cross-Mot. at

43, and that OFAC has failed to do so, as “[m]ost, if not all, substantive portions of [the]

administrative records underlying OFAC’s actions were redacted in the records disclosed to

Hejeij.” Id. at 44. This failure undermines Hejeij’s ability to utilize OFAC’s delisting procedures,

as—“[a]bsent a clear idea of the reasons for his designation under E.O. 13224 and OFAC’s denial

of his delisting petition”—Hejeij lacks any “reasonable opportunity to meet his burden under

[those] procedures.” Id.

       Defendants muster a single bare response to Hejeij’s substantive claims in this regard,

contending that Hejeij’s assertion that he “‘is in no position to meaningfully the reconsideration

procedures provided to him as a matter of law’ . . . is belied by his prior fulsome submissions to

OFAC.” Defs. Opp. at 40. It is unclear on what basis Defendants characterize Hejeij’s prior

submissions to OFAC as “fulsome,” as Hejeij noted throughout his reconsideration matter that he

lacked a full understanding as to the reasons for his designation and that this inhibited his ability

to rebut the basis for his designation. See, e.g., AR 0161-0165, 0262, 0293-0295, 0370-0373.

       Defendants make no attempt to refute the operative law—i.e., that an agency’s failure to

set forth its reasons for a decision constitutes arbitrary and capricious agency action for purposes

of the APA. See Tourus Records v. DEA, 259 F.3d 731, 736 (D.C. Cir. 2001) (citing Roelofs v.

Sec. of the Air Force, 628 F.2d 594, 599 (D.C. Cir. 1980)). Nor do Defendants dispute the operative

considerations underlying that law—i.e., that by requiring agencies to identify the reasons for their




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decisions, deprived parties are afforded the opportunity to address any agency errors and courts

are able to fairly review the matter if the agency persists in its wrongful decision. Id. Instead,

Defendants solely claim that by disclosing the unclassified, non-privileged material in the records

underlying the designation and denial decisions, Hejeij has received all that he is entitled to.

Defendants mistake their burden, however, as it is OFAC’s obligation under the APA to ensure

that Hejeij understands the reasons for its action even if that means utilizing alternative means

such as unclassified summaries; an unclassified statement of reasons; or permitting Hejeij’s

cleared counsel to access the full record. OFAC’s failure to provide Hejeij a full understanding of

its actions against him constitutes arbitrary and capricious agency action for this reason and

violates the agency’s obligations under the APA.

                                        CONCLUSION

       For the foregoing reasons, this Court should grant summary judgment in favor of Hejeij

and enter judgment in favor of Hejeij on all counts.



January 31, 2019                                            Respectfully submitted,

                                                            /s/ Erich C. Ferrari
                                                            Erich C. Ferrari, Esq.
                                                            FERRARI & ASSOCIATES, P.C.
                                                            1455 Pennsylvania Avenue, NW
                                                            Suite 400
                                                            Washington, D.C. 20004
                                                            Telephone: (202) 280-6370
                                                            Fax: (877) 448-4885
                                                            Email: ferrari@falawpc.com
                                                            D.C. Bar No. 978253


                                                            Counsel for Plaintiff
                                                            Kassem Hejeij




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